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lN THE UNlTED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLORADO

Civil Action No. 13-cv-01945-WJM-CBS
TYLER SANCHEZ

P|aintiff,
v.

DETECT|VE JOE RYAN HARTLEY,

DETECTIVE RYAN WOLFF,

DETECT|VE Nl|KE DUFFY,

DETECT|VE HEATHER MYKES, and

|NVEST|GATOR NI|CHAEL D|CKSON, in their individual capacities,
BOARD OF COUNTY COMM|SSIONERS OF _DOUGLAS COUNTY,
DOUGLAS COUNTY SHER|FF’S OFFlCE, and

OFFICE OF THE DlSTR|CT ATTORNEY FOR THE EIGHTEENTH JUD|C|AL
D|STRlCT,

Defendants.

 

AN|ENDED CONlPLA|NT AND JURY DEN|AND

 

P|aintiff Tyler Sanchez, for his Amended Comp|aint and Jury Demand, alleges
the following:

I. lNTRODUCT|ON

1. This suit arises from the malicious prosecution of Tyler Sanchez, a
cognitiver disabled 18-year~old boy, by four Douglas County Sheriff’s Ofiice Detectives
and a District Attorney’s Ofiice |nvestigator, beginning in July of 2009. l\/lr. Sanchez
was arrested, interrogated intermittently for 38 hours, and charged for a sexual assault

and trespass he did not commit because the individual Defendants knowingly and

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intentionally coerced confessions from him despite awareness of his obvious
disabilities l\/lr. Sanchez was ultimately jailed for four months---much of it in solitary
confinement because his disabilities put him at risk of harm from other inmates--'then
subjected to GF’S monitoring and limitations on his geographic movements until Apri| of
2012, nearly three years after his arrest. At that time, all charges against |vir. Sanchez
were finally dropped due to Doug|as County’s admission that his statements were the
product of the officers’ coercive interrogations and Nlr. Sanchez’s disabilities, and could
not support a finding of guilt.
ll. JUR|SD|CTION AND VENU§

2. Jurisdiction is proper in this Court pursuant to 42 U.S.C. §§ 1983 and
1988, and 28 U.S.C. §§ 1331 and 1343.

3. \/’enue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b),

because the unlawful practices alleged herein were committed within the District of

Co|orado.
|ll. PART|ES
4. P|aintiff Ty|er Sanchez resides within the District of Colorado.
5. Defendant Joe Ryan Hart|ey was a Detective with the Parker Po|ice

Department assigned to the Douglas County Sheriff’s Office Pattern Crimes Unit at all
relevant times and resides within the District of Colorado. Detective l-lart|ey is being
sued in his individual capacity.

6. Defendant Ryan Wo|ff was a Detective with the Par|<er Po|ice Department

assigned to the Doug|as County Sheriff’s Office Pattern Crimes Unit at all relevant times

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and resides within the District of Coiorado. Detective Wo|ff is being sued in his
individual capacity.

7. Defendant ivii|<e Duffy was a Detective with the Doug|as County Sheriff’s
Office at all relevant times and resides within the District of Co|orado. Detective Duffy is
being sued in his individual capacity.

8. Defendant Heather i\/lyi<es was a Detective with the Doug|as County
Sheriff’s Office at all relevant times and resides within the District of Colorado.
Detective i\/lyi<es is being sued in her individual capacityl

9. Defendant Michaei Dickson was employed as an investigator with the
Office of the District Attorney for the Eighteenth Judicial District at all relevant times and
resides within the State of Coiorado. investigator chkson is being sued in his individual
capacity.

10. Defendant Board of County Commissioners of Doug|as County is a body
corporate and politic that may be sued under Colorado iaw. The County enforces State
and local laws through the Doug|as County Sheriff’s Office in Cast|e Rocl<, Colorado.

11. Defendant Doug|as County Sheriff’s Oche is a body corporate and politic
that may be sued under Colorado |aw.

12. Defendant Oche of the District Attorney for the Eighteenth Judicial District
is a body corporate and politic that may be sued under Colorado iaw.

lv. FAcTuAL ril___l__EoriTioNs1
13. Plaintiff Tyler Sanchez was born on Ju|y 23, 1990, and was eighteen

years old at the time this story began in Ju|y of 2009. l\/lr. Sanchez was born in Denver,

 

1 Allegations in this Complaint are made upon information and belief.

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Colorado, raised in Parker, Colorado, and currently resides in Parker, Coiorado. l\/ir.
Sanchez lives with his mother, father, brother, and two dogs
14. i\fir. Sanchez is cognitively and developmentally disabled Specifically, l\/lr.
Sanchez suffers from a mixed receptive-expressive language disorder, borderline
intellectual functioning, auditory processing deficits, social anxiety, submissive
personality characteristics and hearing impairment His i.Q. tests in the 60s and 70s.
He also suffers from a seizure disorder, which requires him to take medication that
impairs his memory.

15. This combination of disorders impacts i\/lr. Sanchez’s ability to listen,
comprehend, understand, communicate, and apply abstract concepts Additionally, i\/|r.
Sanchez has problems with cognitive demands under time pressure, problems working
with memory, and possesses auditory processing deficits. He also has problems
comprehending vocabulary and grammar. His disabilities greatly impact his ability to
communicate verbally and non-verbally to others His disorders particularly manifest
themselves under pressure, stress, questioning by authorities and sleep deprivation

16. i\/lr. Sanchez’s disorders make it difficult for him to provide accurate
information in response to questioning by authority figures and make him particularly
susceptible to making false and inculpatory statements at the suggestion of authority
figures

17. iVir. Sanchez’s disabilities are open and obvious He presents as a
significantly younger person than his actual age. His inability to understand questions

and provide appropriate responsive information, as weil as his reduced intellectual

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functioning, are obvious to anyone who speaks with him. lt is obvious that he is
susceptible to suggestions made by authority figures

18. On July10,2009, a mother made a 911 call to the Doug|as County
Sheriff’s Office. The caller told the dispatcher that someone had broken into her home
through her eight-year-old daughter’s window and had sexually assaulted the young girl.

19. The eight-year~old girl described the intruder as an older man, about 40
years oid, the same size and build as her father who weighs 190 pounds, with brown
hair parted in the middle, who was not wearing a hat, did not have any tattoos on his
hands or arms, and had white skin.

20. Other than the color of his skin, Tyler Sanchez does not even bear a close
resemblance to the intruder. Tyler Sanchez was eighteen years old at the time and
looked his age or younger. lVlr. Sanchez weighs 125 to 130 pounds and has a very thin
build. Mr. Sanchez's hair is red and was cut in a close buzz cut at the time. lVir.
Sanchez had two obvious tattoos on his forearms, one reading “Sanchez” and one
reading “iviichelle,” his girlfriend’s name.

21. On July 17, 2009 at approximately 12:40 a.m., Detectives Ryan Wo|ff and
Joe Ryan Hartley of the Parker Po|ice Department and Douglas County Sheriff’s Office
responded to a call regarding a prowler on the 9300 block of Branham Drive in the
Stonegate neighborhood (the “Branham Drive trespass”). The Detectives learned that
the silhouette of a male wearing black clothing was observed in a back yard by a
homeowner and ran from the back yard after seeing the homeowner through a window.

22. Beginning at about 1:18 a.m., Detectives Wolff and Hartley interviewed

i\/lr. Sanchez in the driveway of his home about the Branham Drive trespass Another

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Douglas County Sheriff’s Office Detective, Jason Cirbo, was also in the driveway during
the interview. The Detectives noted that ivir. Sanchez appeared very nervous and was
sweating. Whiie the Detectives were questioning ivir. Sanchez, multiple police vehicles
pulled up around the house.

23. Whiie interviewing ivir. Sanchez, Detectives Wo|ff and Hartley repeatedly
suggested to i\/lr. Sanchez specific details about the Branham Drive trespass, then
asked ivir. Sanchez to describe the incident back to them. Detectives Wolff and Hartley
had to ask ivir. Sanchez repeated questions before he allegedly described the crime by
confirming or repeating back the information he was provided by the Detectives

24. Based on i\/ir. Sanchez’s affect, difficulty in understanding questions,
difficulty in answering questions, and general demeanor in this interview, Detectives
Wolff and Hartley knew that ivir. Sanchez suffered from some type of mental impairment
and limited intelligence. They knew that ivir. Sanchez was not capable of providing
accurate information in response to their questions and that ivir. Sanchez was
susceptible to pressure to agree with statements they made to him. As a result, they
knew that i\/lr. Sanchez's statements were not knowing or voluntary and had been
coerced.

25. Based on his alleged responses to Wo|ff’s and Hartley’s questions, i\/ir.
Sanchez was placed in handcuffs and arrested for second degree criminal trespass
without a warrant, and transported to the Douglas County Jail.

26. At the Jail, ivir. Sanchez was read his _MM rights and was also
provided them in written format. Even though he did not understand the verbal or

written statement of rights, lVlr. Sanchez signed the waiver.

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27. Beginning at about 2:20 a.m. on July 17, 2009, Detectives Woiff and
Hartley then interviewed’l\/lr. Sanchez in the booking room of the Douglas County Jaii
about the Branham Drive trespass as well as several other burglaries and trespasses
that had taken place in the area that summer. Even though ivir. Sanchez bore no
resemblance to the perpetrator described in connection with the July 10, 2009 sexual
assault of an eight-year old giri, Wolff and Hartley also interviewed i\/ir. Sanchez to
determine whether he had been the perpetrator of that crime. At the time they
interviewed ivir. Sanchez, Detectives Woiff and Hartley knew that the sexual assault
victim’s identification of her assailant did not remotely match ivir. Sanchez.

28. During the interview, Detectives Wolff and Hartley provided specific details
about the Branham Drive trespass and the sexual assault to iVir. Sanchez and then
asked him exclusively "yes or no” questions regarding whether he committed the
criminal acts in response, ivir. Sanchez was unable to provide any details about the
incidents Woiff and Hartley noted that lV|r. Sanchez appeared unsure about what he
supposedly did during each crime. At least one detail i\/lr. Sanchez falsely confessed to
regarding the Branham Drive trespass--that he fled the yard when a porch light came
on---was untrue according to the homeowners own statement that he never turned a
light on, but was suggested to i\/lr. Sanchez by the Detectives in addition to providing
details to i\/ir. Sanchez, the Detectives intentionally led i\/ir. Sanchez to falsely believe
that his DNA had been found in locations which implicated him in the crimes

29. During this interview, in response to “yes or no” questions, ivir. Sanchez
admitted to entering the horne where the sexual assault occurred; however, he denied

sexually assaulting the little girl. l\/lr. Sanchez’s admissions were not knowing,

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voluntary, or accurate. l\/lr. Sanchez neither entered the home where the sexual assault
occurred, nor committed the assault itself.

30. During the interview, l\/lr. Sanchez also falsely confessed to other
burglaries and trespasses under investigation by the Douglas County Sheriff’s Office,
including at least one in which Wolff and Hartley knew he did not remotely match the
complainant’s physical description of the actual perpetrator, who had “Iong, greasy
black hair."

31. Based on lVir. Sanchez’s affect, difficulty in understanding questions
difficulty in answering questions and general demeanor in this interview and the
driveway interview, Detectives Wolff and Hartley knew that ivir. Sanchez suffered from
some type of mental impairment and limited intelligence They knew that i\/irq Sanchez
was not capable of providing accurate information in response to their questions and
that i\/lr. Sanchez was susceptible to pressure to agree with statements they made to
him. They also knew that ivir. Sanchez’s multiple confessions were unlikely to be
accurate given that they contradicted witnesses’ descriptions of events As a resuit,
they knew that ivir. Sanchez’s testimony during their interview, as weil as the earlier
driveway interview, was not knowing or voluntary and had been coerced.

32. in fact, Detectives Wolff and i-lartiey were so unsure of ivir. Sanchez’s
ability to provide accurate information that they asked him whether he truly committed
the crimes to which he confessed, or was just saying what the Detectives wanted him to
say. Detective Wolff later wrote that during the interview, ivir. Sanchez often seemed
“unsure of what he did during the commission of each crime,” that he had trouble

remembering things and that his answers to questions were often “vague.” However,

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Wolff and Hartley did not include this information in their July 17, 2009 Progress Report
summarizing the interview.

33. Wolff and Hartley’s interview of |Vlr. Sanchez was video recorded, but the
recording was destroyed while in the custody of the Douglas County Sheriff’s Office and
was never produced to Nlr. Sanchez. The destruction occurred after the Court ordered
that video recordings relevant to the case be preserved

34. At 4:45 a.m. on July 17, 2009, Detective Cirbo signed a Statement in
Support of Warrantless Arrest of ivir. Sanchez for the Branham Drive trespass which
took place earlier that night. Around the same time, Detective Cirbo signed a
Misdemeanor Summons and Complaint for the Branham Drive trespass Detective
Cirbo relied upon Hartley and Wolff’s representations regarding their interviews of l\/lr.
Sanchez, including their omission of any information about his obvious disabilities and
their observations thereof. As a result of these omissions Detective Cirbo’s Statement
made no mention of any information suggesting ivir. Sanchez had any disabilities or
limitations

35. Detectives Heather lvlykes and iviike Duffy of the Douglas County Sheriff’s
Office were assigned to investigate the July 10, 2009 sexual assault. Early on the
morning of July 17, they were informed of ivir. Sanchez’s answers to questions about
the incident in his interview with Detectives Wolff and Hartley.

36. Beginning around 7:37 a.m. on Juiy17,2009, subsequent to the interview
conducted by Detectives Wolff and Hartley, Detectives lviykes and Duffy interviewed ivir.
Sanchez. At the time the interview began, lVlr. Sanchez had been awake since the

morning of July 16, 2009---roughly 24 hours--~with little or no sleep. Detectives Wolff

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and Hartley briefed lVlykes and Duffy before they began their interview and provided
them with a copy of the Progress Report authored by Hartley with Wolff’s assistance

37. At the time they interviewed ivir. Sanchez, Detectives Duffy and iVlykes
knew that the sexual assault victim’s identification of her assailant did not match ivir.
Sanchez They also knew that l\/lr. Sanchez's blood alcohol content had just been
tested and that the test came back showing no alcohol in his system, removing the
possibility that his obvious impairments could be explained by intoxication. Frorn
Detective i-iartiey’s Progress Report, they knew that lVlr. Sanchez had to be closely
questioned during his earlier interviews on whether he was simply saying what he
thought officers wanted to hear when he admitted to various criminal acts

38. At the beginning of the interview, Detective Duffy provided a verbal
lviiranda warning to ivir. Sanchez, which he did not understand. l\/lykes and Duffy
observed that i\/ir. Sanchez appeared very tired, yawned frequently, spoke with his eyes
closed and rested his head in his hands or on the table. ivir. Sanchez stated multiple
times throughout the interview that he was tired. He informed the officers that he had
only had two hours of sleep in the last two days He was observed to be extremely
anxious and his legs frequently shook.

39. Both Detectives observed that i\/lr. Sanchez had difficulty expressing
himself verbally throughout the interview ivlany of iVlr. Sanchez’s responses to
questions were non-verbal in nature, either a nod of the head “yes’l shake of the head
“no,” or no response at ali. ivir. Sanchez also frequently responded with “l don't
remember” or “i’m tired” when asked about the specific crimes in question He

answered questions slowly and hesitantly, with obvious difficulty.

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40. At the outset of the interview, lVlr. Sanchez expressed his extreme anxiety
when talking to authority figures For example, when Detective iviykes asked if he was
under the influence of drugs or aicohoi, he said “No,” and added, referring to Detectives
Hartley and Wolff, “That’s what they thought q . . when . . . l talked to them first, but . . .”
Detective lekes said, “The reason l'm asking is you seem . . . ” and when she traiied
off, ivir. Sanchez attempted to explain his disabilities and his fear of authority figures
stating, “| usually get hesitated when . . . l talk to . . . these kinds of people.” ivir.
Sanchez also stated early on in the interview that “l can’t stop shaking," “l can’t even
speak,” and “l want to . . . lwant to get out of here."

41. ivir. Sanchez made an effort early in the interview to explain to Detectives
l\/iykes and Duffy that he had been coerced by Hartley and Woiff into confessing to
crimes he did not commit. He explained “l had to tell them a different story cuz they
weren’t being . . .they weren’t being like . . . cooperative, saying lwas lying” and that as
a result, he had told Hartley and Wolff that “l went into somebody’s backyard, which l
did n't." He also revealed that Hartley and Wolff had led him to believe they had DNA
evidence connecting him to the crimes stating that “somehow they got DNA fingerprints
from -- l don’t know. lt’s just -- l give up.” Rather than correct this misimpression,
iit/lykes and Duffy continued to intentionally lead l\/lr. Sanchez to believe that his DNA
had been found at the house where the sexual assault occurred

42. Detectives ivlykes’ response was to tell ivir. Sanchez, “l know those guys
[Hartley and Wolfi] pretty wel|. . . l know they weren’t forcing you to say what you said

this morning. l know thatl okay?” Later in the interviewl Detective iviykes told l\)ir.

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Sanchez it was “time to start talking," and he responded alluding to his earlier false
confessions “this is what happened last . . . time with the other . . . two Detectives.”

43. Throughout the interview, Detectives i\/lykes and Duffy observed that ivir.
Sanchez was behaving strangely, including laughing and smi|ing nervously at odd
times; had a poor memory; and made numerous inconsistent statements When
Detectives iviykes and Duffy pushed him to clarify his statements he stated “This is
aggravating me . . .This is like . . . uh q . . cuz l just wanted to get home. idon’t want to
be here."

44. During the interview, ivir. Sanchez repeatedly had to ask the Detectives to
repeat their questions because of his hearing impairment and cognitive disabilities

45. During the interview, lVlykes and Duffy observed that ivir. Sanchez’s ability
to respond to questions was impaired As a result, they inquired a second time as to
whether he had taken any drugs and aicoho|, and ivir. Sanchez agreed to undergo a
drug and alcohol testq Later, at a third point in the interview, Detective lvlykes told iVir.
Sanchez she would be taking a urine sample because “l need to know that you’re not
on something,” and lVir. Sanchez again tried to explain his disabilities stating, “l’m like
this most of the time anyways” and “People . . . ask questions if l’m on anything.”
|Vlykes later testified that her concern about drug or alcohol impairment arose because
of her specific observations that i\/lr. Sanchez had dichulty remembering things had
difficulty formulating answers to questions and was slow to answer questions

46. Toward the end of the interview, lVlr. Sanchez offered to take a lie detector
test. i\/lykes and Duffy then pressed him on whether he actually committed the trespass

and sexual assauit. Mr. Sanchez responded “that's like . . . when l heard that . . . it’s

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everything going against me now. Not even . . . Cuz everything going against me.
Now things that l didn't even do. Not unless l dreamed walk. Un|ess l was dreaming”
and, later, "l’ve stayed up . . .for like . . . over thirty hours now. l want to . . . l haven't
got any answers.”

47. Based on ivir. Sanchez's affect, difficulty in understanding questions
difficulty answering questions and general demeanor, as well as Detectives Hartley and
Wolff's briefing, Detectives Mykes and Duffy knew that l\/lr. Sanchez suffered from some
type of mental impairment and limited intelligence. They knew that lVlr. Sanchez was
not capable of providing accurate information in response to their questions and that i\/lr.
Sanchez was susceptible to pressure to agree with statements made to him. As a
result, they knew that ivir. Sanchez’s testimony during his interview with them and prior
interviews with Hartley and Wolff was not knowing or voluntary and had been coerced

48. iii/lykes and Duffy completed their interview around 11:30 a.m. on July17,
2009, at which point ivir. Sanchez had been awake for weil over 24 hours ivir. Sanchez
went to sleep in the Jail at roughly 11:00 pim. that night.

49. During the afternoon of July 17, 2009, Detectives lVlykes and Duffy
interviewed Brian Coshnitzke, an acquaintance of lVir. Sanchez. i\/lr. Coshnitzke told the
Detectives that ivir. Sanchez “ain’t all up there. He -- he's different.” Later, he added
“We used to call him Silent T.” iviykes then asked “Let me ask a real quick question
about Tyler, ‘cause he has some mannerisms that are a little interesting Does he kind
of phase off sometimes when you’re talkin[g] to him?” Duffy added "Like zone out?”

i\/ir. Coshnitzke replied “l-ie was a weird kid man.” Mykes later explained “l was just

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wonderin[gj, ‘cause like l said when we talked to him, he kinda phased out a couple
times."

50. At about 7:00 a.m. on July18, 2009, ivir. Sanchez’s father Anthony
Sanchez arrived at the Douglas County Jail to pay his son’s bond For roughly four
hours Nlr. Sanchez was prevented from making payment by Jail personnel who told
him incorrectly that iVls. Sanchez was “stili being processed” and he should “check back
iater,’I or that the computer system which processes bond payments was running slowly
or was “down,” During this time, Anthony Sanchez observed other individuals leaving
the Jail after bond was posted for them. This incorrect information was given to
Anthony Sanchez at the request of Detectives lVlykes and Duffy.

51. On Ju|y18, 2009 at 8:45 a.m., Detectives l\/lykes and Duffy transported
ivir. Sanchez from the Douglas County Sheriff’s Office to the District Attorney’s Office for
a polygraph exam, to be taken by investigator l\/like Dickson. On the instructions of
Detectives lVlykes and Duffy, Anthony Sanchez was never told by Jail personnel that his
son was being transported to anotherjurisdiction or that he was being interrogated while
his father waited to pay his bond

52. Before the polygraph started Detective l\/lykes briefed investigator
Dickson on the case. Dickson learned that the sexual assault victim’s identification of
her assailant did not match ivir. Sanchez

53. Before the polygraph started i\/lr. Sanchez reported that he suffered from
a seizure disorder which impaired his memory. l-ie also told Detectives Mykes and
Duffy and investigator Dickson that he has trouble talking when he gets nervous

iviykes and Duffy confirmed with Jail personnel that l\/lr. Sanchez was on seizure

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medication in addition lVlykes, Duffy, and Dickson knew by this time that lV|r. Sanchez
could not be under the influence of any non-prescription drugs or alcohol, as he had
been in custody for over 31 hours

54. Based on l\/lr. Sanchez’s affect, difficulty in understanding questions
difficulty answering questions general demeanor, and known seizure disorder, as well
as Detective N|ykes’ briefing, investigator Dickson knew that ivir. Sanchez suffered from
some type of mental impairment and limited intelligence. He knew that ivir. Sanchez
was not capable of providing accurate information in response to his questions and that
ivir. Sanchez was susceptible to pressure to agree with statements made to him. As a
result, he knew that ivir. Sanchez’s statements during his polygraph interview and all
prior interviews as well as the written statement he produced during his polygraph
interview with investigator Dickson, were not knowing or voluntary and had been
coerced

55. investigator Dickson began by questioning ivir. Sanchez to develop
questions for the polygraph. While developing the questions Dickson asked how much
l\/lr. Sanchez knew about the sexual assault allegations l\/lr. Sanchez then repeated
back almost verbatim what the four Detectives had told him during questioning the
previous day. investigator Dickson then provided iVlr. Sanchez with additional
information regarding what he believed had happened during the sexual assault

56. Before administering the polygraph, investigator Dickson noted that l\/lr.
Sanchez seemed tired and was yawning frequentiy. Throughout the polygraph
interview and test, Dickson observed that ivir. Sanchez had difficulty understanding and

answering questions During the interview, investigator Dickson reinforced the

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Detectives’ repeated implication that lVir. Sanchez’s DNA would be found at the scene of
the sexual assau|t.

57. Whiie ivir. Sanchez’s interview with investigator Dickson was underway,
around 11 :00 in the morning, his father Anthony Sanchez was finally allowed to pay his
bond Anthony Sanchez was told that it generally take about forty minutes for someone
to be released from the Jail once bond is paid When his son had not appeared after an
hourl he inquired and was kept waiting with vague and conflicting excuses that the
“system was slow” or the “computer was down” for several more hours Anthony
Sanchez was never told that his son was being interrogated while he waited in fact,
Anthony Sanchez was kept waiting not because of a system problem, but because of
instructions from Mykes and Duffy that lVlr. Sanchez could not yet be released

58. After administering the polygraph, investigator Dickson informed i\/|r.
Sanchez that he had failed the polygraph on two questions (1) “Did you touch that
girl's vaginal area?" and (2) “Did you touch her between the legs?" l\/lr. Sanchez
responded despairingiy, “But l don’t remember doing any of this That’s what l’m trying
to say.”

59. investigator Dickson then suggested that what N|r. Sanchez really meant
to say was “lt could have happened but l don’t remember.” lVlr. Sanchez acceded to
this suggestion l-ie explained that “l fell asleep [on the night of the assaultj and then l
woke up -- l woke up that next morning in my bed,” but went on, "| might have woke up
[during the night] out of nowhere . . . And might have done that [the assaultj because

there’s many -- there’s many things l don’t remember doing’l Pressed further, he

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agreed that “l could have done it and . . . ljust don’t remember” and “l could have
probably done it in my sleep.”

60. Contrary to his repeated assertions that he had no memory other than
falling asleep in his bed that night, iVlr. Sanchez then drafted a brief statement in which
he confessed to breaking into the girl’s house, but not to sexually assaulting her. He
dated the statement 2:13 p.m. on July 18, 2009. Every fact in the statement had been
told to him by one or more Defendants during his multiple interviews At least one fact
in the statement---that the little girl had screamed---was actually inconsistent with the
victim’s own statements about the assault but had been suggested to ivir. Sanchez
during the interviews

61. in the course of his employment with the Office of the District Attorney for
the Eighteenth Judicial District (the “Office”), investigator Dickson has received only
minimal training as a polygraph examiner and has not received training on appropriate
and non-coercive use of the polygraph during an interrogation or on appropriate and
non~coercive use of the polygraph to interview individuals with disabilities or low le
The Office knew that investigator Dickson and other employees were authorized to
conduct polygraph examinations and did in fact conduct such examinations knew that
these employees would use polygraph examinations as interrogation techniques knew
that these employees would use polygraph examinations when interviewing individuals
with disabilities and low |Qs and knew that failing to train investigator Dickson and
other employees on the aforementioned topics gave rise to a risk of coerced

confessions

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62. Before ivir. Sanchez wrote and signed his statement, at 1:56 p.m.,
Detective lviykes received a page message informing her that his bond on the trespass
charge had been paid by his father and "we have no reasons to hold him.” A second
message added “[Anthony] Sanchez needs an explanation This needs to happen
now." Detective l\/lykes received the page messages but ignored them, and did not
stop the questioning of lVlr. Sanchez, contact ivir. Sanchez’s father, or inform ivir.
Sanchez that he was free to leave4 Detective l\/lykes learned of the bond payment even
before she received the page messages

63. After Mr. Sanchez completed his written statement, investigator Dickson
asked him a series of follow-up questions about it. i\/lr. Sanchez was unable to answer
the most basic questions regarding his alleged role in the offense.

64. For example, in response to Dickson’s questions l\/ir. Sanchez could not
explain how he allegedly reached the screened second-story window of the young girl’s
bedroom. investigator Dickson suggested a ladder, and i\/lr, Sanchez then agreed “i
used the ladder to get on the roof,” This statement could not have been correct,
because no ladder was found at the scene---as l\/lykes, Duffy and Dickson knew. lVlr.
Sanchez also could not explain how he opened the window, whether the window had a
screen, where the window was located on the house, or how he got down from the roof.

65. i\/ir. Sanchez was then verbally advised of his M@Q rights in relation to
the charge of sexual assault on a child by Detective Duffy, who told him only that he
was being held on a “new charge” with no explanation of the nature or gravity of that
charge. Only at this point, when ivir. Sanchez asked “Did my parents call?," was he

informed that his parents had paid his bond on the prior charges

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66. Detectives l\/lykes and Duffy proceeded to reinterview ivir. Sanchez, in
another attempt to fill in the many missing details in his statement lVir. Sanchez was
utterly unable to provide any additional information about the alleged sexual assault
beyond what the officers had told him. l-|e continued to show great difficulty in
answering questions and to provide many nonverbal answers and physical indications
of confusion and distress and asked repeatedly for his parents

67. Based on lVlr. Sanchez’s affect, difficulty in understanding questions
difficulty answering questions general demeanor, and known seizure disorder,
Detectives Duffy and iviykes and investigator Dickson knew that ivir. Sanchez suffered
from some type of mental impairment and limited intelligence. They knew that ivir.
Sanchez was not capable of providing accurate information in response to their
questions and that l\/lr. Sanchez was susceptible to pressure to agree with statements
they made to him. As a result, they knew that ivir. Sanchez’s testimony during their
interview and all prior interviews and his written statement to investigator Dickson, were
not knowing or voluntary and had been coerced Detective iviykes wrote in her notes
regarding the interview that she questioned ivir. Sanchez's “cognitive abilities.”

68. At roughly 3:00 p.m. on July 18, 2009, Detective lVlykes finally informed
Anthony Sanchez that his son was detained on a new charge of sexual assault on a
child and had written a confession Anthony Sanchez immediately told Niykes that his
son did not have the capacity to make the decisions required to confess to a crime, and
added that this should have been obvious to anyone who spoke to him for more than a

few minutes. Detective Mykes acknowledged to Anthony Sanchez that she had noticed

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i\/lr. Sanchez’s disabilities but said that they were irrelevant because he was an adult
Mykes then returned to continue her interrogation of i\/lr. Sanchez.

69. Anthony Sanchez then called the Douglas County Public Defender’s
Office, and Public Defender Tom Ward arrived and ended the interrogation at about
3:20 p.m. At that point, lVlr. Sanchez had been in custody for approximately 38 hours
and had been actively interviewed for roughly 15 hours

70. in the course other employment with the Douglas County Sheriff’s Office,
Detective Heather iviykes has received training on interrogation techniques but she has
not been trained regarding how to properly apply those techniques to suspects who may
be vulnerable to coercion due to disabilities or low lQ. The Douglas County Sheriff’s
Office and Board of County Comrnissioners knew that Detectives working for the
Sherifi’s Office would interrogate suspects with disabilities and low iQs during the
course of their employment and knew that failing to specially train them on conducting
such interrogations gave rise to a risk of coerced confessions

71. On July 18, 2009, Detective i\/lykes drafted and signed a Statement in
Support of Warrantless Arrest of lVir. Sanchez on three felony charges related to the
sexual assault She did not report ivir. Sanchez’s known seizure disorder,
communication difficulties or cognitive limitations in the statement Detective Duffy and
investigator Dickson assisted with the drafting of the Statement in Support of
Warrantless Arrest. That same day, Detective Mykes described ivir. Sanchez’s false
written and verbal confessions by phone to a judge, who authorized a $1,000,000 bond.
i\/lykes did not report ivir. Sanchez’s known seizure disorder, communication difficulties

or cognitive limitations or the resulting unreliability of his confessions to the judge.

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72. On July 19, 2009, Defendant Duffy interviewed i\/lr. Sanchez’s father,
Anthony Sanchez. Anthony Sanchez described his son's disabilities in detail to Duffy,
explaining among other things that he cannot speak or communicate weil, has seizures
is unusually compliant with others’ demands attended Special Education classes
throughout school, and did not speak his first word until he was 5 years old. During the
interview, Duffy requested that Anthony Sanchez sign an authorization to obtain ivir.
Sanchez’s school records Duffy briefed Detectives iviykes, Hartley and Wolff on this
interview.

73. On July 20, 2009, in reliance upon Hartley and Wolff’s statements and
omissions about their interviews with ivir. Sanchez, the District Attorney filed the
iviisdemeanor Summons and Complaint drafted by Detective Cirbo for the Branham
Drive trespass Hartley and Wolff did not report lVlr. Sanchez’s known seizure disorder,
communication difficulties or cognitive limitations or the resulting unreliability of his
confessions to the District Attorney. The District Attorney did not review the videotaped
interviews of ivir. Sanchez by Detectives l\iiykes and Duffy and investigator Dickson or
transcripts thereof before filing the Summons and Complaint.

74. On the same date, a magistrate judge signed a determination finding
probable cause to detain l\flr. Sanchez for committing the Branham Drive trespass
based on Detective Cirbo’s Statement in Support of Warrantless Arrest. The magistrate
kept ivir. Sanchez’s bond at $1,000,000 for the pending sexual assault charges and
noted that the bond was set at $1,000,000 rather than $100,000 because ivir. Sanchez
was alleged to have committed the Branham Drive trespass just a week after allegedly

committing the sexual assault in making these determinations the magistrate

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reviewed and relied upon Detective l\/lykes’ Statement in Support of Warrantless Arrest
for the sexual assault

75. On July 22, 2009, Detective ivlykes drafted and signed an Affidavit in
support of a warrant for lVlr. Sanchez’s arrest on the three felony charges arising from
the sexual assault Again, she did not report ivir. Sanchez‘s known seizure disorder,
language difficulties and cognitive limitations or the resultant unreliability of his
confessions in the Affidavit. Under “Known l\/iedical Probiems” on the accompanying
information Siip, l\/lykes wrote, “Not Noted” Detective Duffy and investigator Dickson
assisted with the drafting of this Affidavit.

76. Reiying upon the information in iviykes’ Affidavit and earlier Statement in
Support of Warrantless Arrest, as well as information verbally communicated by
Detectives i\/iykes and Duffy and investigator Dickson, the District Attorney filed a
Felony Complaint and information on the three charges arising from the sexual assault
on July 22, 2009. Both iviykes’ Affidavit, and her earlier Statement in Support of
Warrantiess Arrest, were filed with the Court. The District Attorney did not review the
videotaped interviews of ivir. Sanchez by Detectives ll./lykes and Duffy and investigator
Dickson or transcripts thereof before filing the Complaint lekes, Duffy and Dickson
intentionally omitted information about ivir. Sanchez’s obvious disabilities and known
seizure disorder, and the resultant unreliability of his confessions when drafting the
Affidavit and communicating with the District Attorney.

77. On July 23l 2009, l\/lr. Sanchez appeared before a judge for the filing of
charges arising from the sexual assault The judge reviewed lVlykes’ Statement in

Support of Warrantiess Arrest and Affidavit. The judge denied a bond reduction, again

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based in part upon the allegation that lVlr. Sanchez had also committed the Branham
Drive trespass A bond reduction was also denied on July 31, 2009, after the judge’s
review of iVlykes' Statement and Affidavit and based in part upon the Branham Drive
trespass allegation

78. On August 4, 2009, despite knowing that ivir. Sanchez was represented by
counsel and did not have the mental capacity to knowingly and voluntarily respond to
questioning Detective Wolff and another officer visited iVlr. Sanchez at the Jail and
attempted to reinterview him yet again

79. As the case progressed Defendants continually learned new information
regarding lVir. Sanchez’s disabilities and the reasons for his obvious limitations during
their interviews For example, on August 5, 2009, Defendants Mykes and Duffy
received the results of the drug and alcohol testing performed on ivir. Sanchez’s urine
sample. The sample was negative for any drugs and alcohol, eliminating those as
potential causes for l\/lr. Sanchez’s obvious impairment on July 17 and 18, 2009. The
Detectives also interviewed numerous witnesses who described ivir. Sanchez’s
disabilities to them, including his girlfriend and coworkers

80. On January 6, 2010, Detective lvlykes drafted and signed an AfHdavit for
Arrest Warrant on a new felony charge arising from the Branham Drive trespass in
addition to the previously-filed misdemeanor chargeq Once again, Mykes did not
include any mention of report ivir. Sanchez’s known seizure disorder, communication
difficulties or cognitive limitations in the Affidavit. Detectives Hartley, Wolff and Duffy

and investigator Dickson assisted with the drafting of this Afl'idavit. The District Attorney

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filed the Affidavit in Douglas County County Court on January 6, 2010 and filed a Felony
Complaint and information on this additional charge on January 7, 2010.

81. On l\/iarch 30, 2010, the Douglas County County Court began a
preliminary hearing regarding the felony allegations against ivir. Sanchez. The hearing
continued on April 27 and 28, 2010. At the hearing, Detectives Wolff and ivlykes
testified in support of the charges against ivir. Sanchez Each testified regarding the
statements made by i\lir. Sanchez and suggested that his statements were given in a
knowing and voluntary manner and were not coerced At the time of their testimony,
Detectives Wolff and l\/lykes knew that i\/lr. Sanchez’s statements were not knowing or
voluntary and had been coerced

82. Detective Wolff falsely claimed during the hearing that he saw no
indications that lvlrq Sanchez was suffering from any mental health issue, that lVlr.
Sanchez never told him he was suffering from sleep deprivation, that l\/lr. Sanchez
never gave any indication that he didn’t understand anything the Detectives asked him,
that l\/lr. Sanchez frequently gave narrative responses to the Detectives’ questions and
that it was not possible that iVir. Sanchez’s eventual confession was false.

831 Detective i\/iykes falsely claimed that she had no indication that lVlr.
Sanchez was mentally compromised or had a developmental disability, and that it was
not possible that lVlr. Sanchez’s confession was false.

84. Based on the false inculpatory statements made by ivir. Sanchez to the
Defendants and their testimony regarding those statements the Court found that there

was probable cause to pursue all four felony charges against iVlr, Sanchez

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85. On l\/larch 9l 2012, the Douglas County District Attorney’s Office received
the results of an independent medical examination of ii/lr. Sanchez by the Colorado
lVlental Health institute at Pueblo (“ClviHlP”). Among other things the ClViHlP Report
concluded that the inculpatory statements made by ivir. Sanchez were not made in a
knowing and voluntary fashion, but were rather the result of suggestions made by the
Defendants and that ivir‘ Sanchez’s disabilities combined with the Defendants
treatment of him provided a reasonable basis to believe that his confessions were false.

86. in two motions filed on April 4, 2012 and April 12, 2012, based upon the
CMHiP independent medical examination, the Douglas County District Attorney’s office
dismissed ali charges against ivir. Sanchez. The dismissals were not based upon any
agreement of compromise with ivir. Sanchez, but only upon the likely falsity of his
confessions and the prosecution’s resultant inability to meet its burden of proof. The
District Attorney’s motions explained that “based on [l\/lr. Sanchez]’s intellectual
disabilities cognitive functioning impairments and speech and language disabilities”
his statements could not be relied upon as evidence and “the People are left with
insufficient evidence” to prove the charges against him.

87. As a result of false charges leveled against 'l\/lr. Sanchez, he spent four
months (125 days) in detention in the Douglas County Jail, much of it in solitary
confinement due to his inability to protect himself from other inmates because of his
disabilities over five months (159 days) subject to restrictions on his geographic
location that prevented him from visiting his own home, required him to live with
relatives and required GPS monitoring; and nearly two years (?15 days) subject to

restrictions on his geographic location that allowed him to return to live at his family

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home but restricted his movements and required GPS monitoring Each of these
restrictions constituted a seizure and a violation of ivir. Sanchez’s liberty interests

88. As a result of the false charges brought against him, ivir. Sanchez suffered
extreme emotional distress including depression, anxiety, humiliation, extreme feelings
of guiit, and exacerbation of his preexisting disorders

89. As a result of the false charges brought against him, i\/lr. Sanchez suffered
damage to his reputation, lost wages and was required to expend substantial amounts
of money on attorneys’ fees and costs and the costs of GPS monitoring among other
costs

90. in this case, Defendants’ misconduct was willful and wanton and taken
with reckless disregard for i\Ar. Sanchez’s rights and feelings

91 . in this case, Defendants’ actions violated clearly-established law of which
a reasonable person in their position would have known

V. CLAlilii FOR RELlEF

F|RST CLAiNi FOR RELlEF
lilialicious Prosecution in Vio|ation of the Fourth Amendment, Fifth Amendment,

and Fourteenth Amendrnent Procedura| Due Process under 42 U.S.C. § 1983
(Against Ali Defendants)
92. Piaintiff Sanchez incorporates Paragraphs 1 through 91 as if fully restated
herein
93. Defendants caused Piaintiff Sanchez’s continued confinement and
prosecution after the institution of legal process Among other things Defendants did
so by knowingly coercing Piaintiff Sanchez’s false inculpatory statements by arresting

l\/lr. Sanchez based solely upon these statement', by pursuing the filing of charges

based solely upon these statements by omitting exculpatory information and falsely

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asserting that i\/lr. Sanchez’s statements were truel reliable, and not coerced when
informing the District Attorney of ivir. Sanchez’s statements by omitting exculpatory
information and falsely asserting that ivir. Sanchez’s statements were true, reliable and
not coerced when communicating with magistrates who set bail and determined
probable cause; by omitting exculpatory information and falsely asserting that ivir.
Sanchez’s statements were true, reliable and not coerced in written Statements in
Support of Warrantless Arrest and Affidavits in Support of Arrest; land by omitting
exculpatory information and falsely testifying during the lViarch 30, 2010 and April 27 to
28, 2010 preliminary hearing on probable cause that the statements were true, reliable,
and not coerced

94. The legal process instituted by Defendants was terminated in favor of
Piaintiff Sanchez when the prosecution dismissed the charges against him due to lack
of evidence in April 2012.

95. No probable cause supported Piaintiff Sanchez’s continued confinement
and prosecution at the time of institution of legal process against him. i\/lr. Sanchez’s
statements lacked sufficient reliability to provide probable cause and Defendants knew
this from the time they were made.

96. Defendants acted with malice.

97. As a result of Defendants’ conduct1 Piaintiff Sanchez suffered damages

98. Defendants Board of County Commissioners and Douglas County
Sheriff’s Office failed to properly train and supervise their employees to avoid the use of
coercive interrogation tactics on vulnerable suspects and the pursuit of prosecution

based on coerced statements

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99. Defendants Board of County Commissioners and Douglas County
Sheriff’s Office knew, or should have known, that their employees would use coercive
interrogation tactics on vulnerable suspects and pursue prosecution based on coerced
statements Defendants Board of County Commissioners and Douglas County Sheriff’s
Office were deliberately indifferent to the constitutional rights of citizens knowing that
dangerous consequences could be suffered by citizens such as Piaintiff Sanchez by
failing to properly train their employees in this regard

100. The policy, custom, and practice of Defendants Board of County
Commissioners and Douglas County Sheriff's Office in failing to properly train their
employees was the moving force and proximate cause of the violation of Piaintiff
Sanchez’s constitutional rights and caused Piaintiff Sanchez’s damages

101. Defendant Office of the District Attorney for the Eighteenth Judicial District
failed to properly train and supervise its employees to avoid either the use of improper
polygraph examinations and coercive use of polygraph examinations during
interrogations of vulnerable suspects or the pursuit of prosecution based on coerced
statements

102. Defendant Office of the District Attorney for the Eighteenth Judicial District
knew, or should have known, that its employees would conduct improper polygraph
examinations and use of polygraph examinations coercively during interrogations of
vulnerable suspects and would pursue prosecution based on coerced statements
Defendant Office of the District Attorney for the Eighteenth Judiciai District was

deliberately indifferent to the constitutional rights of citizens knowing that dangerous

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consequences could be suffered by citizens such as Piaintiff Sanchez by failing to
properly train its employees in this regard

103. The policy, custom, and practice of Defendant Oflice of the District

Attorney for the Eighteenth Judicial District in failing to properly train its employees was
the moving force and proximate cause of the violation of Piaintiff Sanchez’s
constitutional rights and caused Piaintiff Sanchez’s damages

WHEREFORE, Piaintiff Sanchez respectfully requests that this Court enter

judgment in his favor and against the Defendants and grant:

(a) Appropriate declaratory and other injunctive andlor equitable relief;

(b) Compensatory and consequential damages including damages for
emotional distress loss of reputation, humiliation, loss of enjoyment of life,
and other pain and suffering on all claims allowed by law in an amount to
be determined at trial;

(c) Ali economic losses on all claims allowed by law;

(d) Punitive damages on all claims allowed by law and in an amount to be
determined at trial;

(e) Attorney fees and the costs associated with this action, including those
associated with having to defend against the false criminal charge as well
as expert witness fees on all claims allowed by law;

(f) Pre- and post-judgment interest at the lawful rate; and

(g) Any further relief that this Court deems just and proper, and any other
relief as allowed by law.

PLAINT|FF REQUESTS A TRIAL BY JURY ON ALL lSSUES SO TRIABLE.

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Respectfuily submitted this 9th day of September, 2013.

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